902 F.2d 1565Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Dewey KING, Plaintiff-Appellant,v.Donald L. BOSWELL, Sheriff;  M.H. Bruce, Chief Jailor;Richard Nuckols, Defendants-Appellees.
    No. 89-6882.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 31, 1990.Decided May 1, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, District Judge.  (C/A No. 88-1464-AM)
      James Dewey King, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, K.K. HALL and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Dewey King appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*   Accordingly, we affirm on the reasoning of the district court.  King v. Boswell, C/A No. 88-1464-AM (E.D.Va. Oct. 26, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The sworn assertions contained in King's "motion not to grant summary judgment," filed in the district court, and in his "motion not to grant dismissal" do not change our opinion
      
    
    